             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:01-cr-00052-MR-6


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                    ORDER
                                )
ESTEBAN GARCIA, SR.,            )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s “Notice of

Motion for Complaint of False Imprisonment.” [Doc. 544].

     In his filing, the Defendant purports to notice for hearing a “motion for

complaint of false imprisonment” before this Court. [Doc. 544]. No such

motion, however, is pending.     Even if such motion had been filed, the

Defendant is not entitled to schedule that motion for hearing before this

Court. Further, any such “motion for complaint of false imprisonment” would

be denied. The Defendant is currently serving a sentence of 262 months’

imprisonment [Doc. 324], and his sentence and conviction has been affirmed

on appeal [Doc. 384].




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        To the extent that the Defendant is attempting to challenge the length

of his sentence, the Defendant previously raised this issue in a motion

arguing that he should be given credit for time served in state custody prior

to his conviction. [Doc. 542]. That motion was denied without prejudice due

to the Defendant’s failure to exhaust his administrative remedies and also

because any such motion must be filed in the district of confinement. [Doc.

543].    For the same reasons, the Defendant’s motion asserting a claim of

false imprisonment must also be denied. See, e.g., United States v. Poole,

531 F.3d 263, 270-71 (4th Cir. 2008) (§ 2241 petition challenging legality of

detention must be filed in the district of confinement).

        IT IS, THEREFORE, ORDERED that the Defendant’s “Notice of Motion

for Complaint of False Imprisonment” [Doc. 544] is DENIED.

        IT IS SO ORDERED.
                                    Signed: December 14, 2015




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